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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

ERIC M NEGRIN,                                  *

                     Plaintiff,                 *
v.                                                  Case No. 5:21-cv-00279-MTT-TQL
                                                *
WILKINSON COUNTY JAIL,
                                                *
                  Defendant.
___________________________________             *


                                     JUDGMENT

       Pursuant to this Court’s Order dated November 8, 2021, and for the reasons stated

therein, JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of

Defendant.

       This 9th day of November, 2021.

                                          David W. Bunt, Clerk


                                          s/ Tydra Miller, Deputy Clerk
